                        Case 15-21057                        Doc 1         Filed 06/17/15 Entered 06/17/15 21:20:27                                                  Desc Main
B1 (Official Form 1)(04/13)
                                                                             Document     Page 1 of 13
                                                  United States Bankruptcy Court
                                                         Northern District of Illinois                                                                            Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                Name of Joint Debtor (Spouse) (Last, First, Middle):
  Wilson, Odell


All Other Names used by the Debtor in the last 8 years                                                     All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                (include married, maiden, and trade names):
  FDBA Bonds Dental Lab



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                              Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                              (if more than one, state all)
  xxx-xx-7389
Street Address of Debtor (No. and Street, City, and State):                                                Street Address of Joint Debtor (No. and Street, City, and State):
  622 E. 38th Place
  Apt. 1
  Chicago, IL                                                                             ZIP Code                                                                                        ZIP Code
                                                                                        60653
County of Residence or of the Principal Place of Business:                                                 County of Residence or of the Principal Place of Business:
  Cook
Mailing Address of Debtor (if different from street address):                                              Mailing Address of Joint Debtor (if different from street address):


                                                                                          ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                      Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                              (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                           Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                         Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                           Chapter 9
     Corporation (includes LLC and LLP)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                           Chapter 11
     Partnership                                                   Railroad
                                                                                                                           Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,            Stockbroker
                                                                                                                           Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)               Commodity Broker
                                                                   Clearing Bank
                                                                   Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                          Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                         (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                   Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                      under Title 26 of the United States                    "incurred by an individual primarily for
                                                                   Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                   Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                     Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must            Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                  are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                             Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                  in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                   THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-          200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199           999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                  million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                  million    million      million        million       million
                  Case 15-21057                 Doc 1          Filed 06/17/15 Entered 06/17/15 21:20:27                                       Desc Main
B1 (Official Form 1)(04/13)
                                                                 Document     Page 2 of 13                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Wilson, Odell
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Lorraine M. Greenberg                                June 17, 2015
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Lorraine M. Greenberg 3129023

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                  Case 15-21057                  Doc 1          Filed 06/17/15 Entered 06/17/15 21:20:27                                      Desc Main
B1 (Official Form 1)(04/13)
                                                                  Document     Page 3 of 13                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Wilson, Odell
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Odell Wilson                                                                     X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Odell Wilson

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 17, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Lorraine M. Greenberg
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Lorraine M. Greenberg 3129023                                                            debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Lorraine M. Greenberg
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      150 N. Michigan Avenue
      Suite 800                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Chicago, IL 60601                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                      Email: lgreenberg@greenberglaw.net
      312-588-3330 Fax: 312-264-5620
     Telephone Number
     June 17, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                 Case 15-21057                   Doc 1           Filed 06/17/15 Entered 06/17/15 21:20:27           Desc Main
                                                                   Document     Page 4 of 13


B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Odell Wilson                                                                             Case No.
                                                                                 Debtor(s)           Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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                  Case 15-21057                        Doc 1         Filed 06/17/15 Entered 06/17/15 21:20:27   Desc Main
                                                                       Document     Page 5 of 13


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2

                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
             mental deficiency so as to be incapable of realizing and making rational decisions with respect to
             financial responsibilities.);
                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                        Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:          /s/ Odell Wilson
                                                                                     Odell Wilson
                                                       Date:         June 17, 2015




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                 Case 15-21057                   Doc 1           Filed 06/17/15 Entered 06/17/15 21:20:27                      Desc Main
                                                                   Document     Page 6 of 13

                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Odell Wilson                                                                                     Case No.
                                                                                 Debtor(s)                    Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                    1,200.00
             Prior to the filing of this statement I have received                                        $                    1,200.00
             Balance Due                                                                                  $                       0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption planning; discussion of bankruptcy and nonbankruptcy options and likely consequences of each
                 option; preparation of documents necessary to file case and obtain relief; discussion of the options and risks
                 with respect to proposed reaffirmation agreements; attendance at Section 341 Meeting; filing of mandatory
                 debtor education certificate of completion;

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions; relief from stay actions; any adversary proceeding;
               preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods,
               preparation and filing of motion to reopen case; preparation and filing of motion to avoid judicial lien, unless
               otherwise compensated.
                                                                          CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      June 17, 2015                                                       /s/ Lorraine M. Greenberg
                                                                                 Lorraine M. Greenberg 3129023
                                                                                 Lorraine M. Greenberg
                                                                                 150 N. Michigan Avenue
                                                                                 Suite 800
                                                                                 Chicago, IL 60601
                                                                                 312-588-3330 Fax: 312-264-5620
                                                                                 lgreenberg@greenberglaw.net




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         Case 15-21057              Doc 1       Filed 06/17/15               Entered 06/17/15 21:20:27                Desc Main
                                              Document
                                        AGREEMENT           Page 7 ofCHAPTER
                                                  TO RETAIN COUNSEL-  13     7
          J
 The undersigned hereby retains as my Attorney, LORRAINE M. GREENBERG and such other attorneys as may be employed by her
 and I he~eby give permission to Lorraine M. Greenberg to hire other attorneys as co-counsel and to represent me, and to use
 administrative assistants of her choosing in the following legal matter:
  V'                                      t                   o$
~             CHAPTER 7, Attorneys fees of$ /{      J () tJ        for attorneys fees PLUS $335.00 for court costs.

                    PLUS An additional $25 - 50 approximately for each credit counseling session (two are required) (I pay this directly
                        to an approved credit, counseling agency. Ms. Greenberg will provide me with information regarding agency)

                    PLUS An additional $225.00 for each Trustee hearing that I fail to attend.

                    PLUS An additional fee billed at $275.00 per hour for the defense of an adversary
                                proceeding ($2,500.00 minimum retainer)

                    PLUS An additional $ 100.00 fee+ $30.00 court costs to add creditors
                                after case is filed.

                   PLUS An additional$ 450.00 fees to prepare and present either a Motion for Redemption, a Motion to Avoid Lien or
Motion to Reopen Case (plus court costs to reopen the case of$260.00), all of which must be paid in full before Attorney Greenberg
will prepare and present any of these Motions.

By signing below I authorize Ms. Greenberg to deposit all funds received for attorneys fees to be deposited into her operations account
immediately and to use the funds immediately as her own funds, as an advance payment retainer. I also authorize her to deposit all
funds into her Client funds account and immediately transfer the lump sum attorneys fees agreed to above to her operations account. I
understand that all money paid for work performed and earned is NON-REFUNDABLE. In every case; the initial retainer of
$500.00 is non-refundable. This is a minimum charge. It covers our fees and costs for opening a file on your behalf and inputting
your information into our computer system. If Client chooses not to proceed with the Chapter 7 for any reason, any fees earned for
work performed or for costs expended before the case has been filed are non-refundable. I understand that attorney services may be
billed at the rate of $275.00 per hour and paralegal services up to $100.00 per hour.

I have been told that both a chapter 7 and Chapter 13 are proceedings under the U.S. Bankruptcy Code, and that they both affect my
credit rating. My attorney has advised me that the decision to file either type of bankruptcy must be carefully considered, and that the
decision is mine alone. My attorney has explained both Chapter 13 and Chapter 7 to me and by signing below I acknowledge having
been given a copy of each of the Disclosure Forms and the Bankruptcy Information Sheet.

I understand that all of the fees and costs must be paid in full before my case will be fully prepared and filed with the Court, unless
otherwise agreed to by Lorraine M. Greenberg. I understand that I will not have the Court's protection from my creditors until the fees
and costs have been paid in full, unless otherwise agreed to in writing by Lorraine M. Greenberg and myself.

I have not been made any promises or guarantees other than that my attorneys will represent me in strict compliance with the law, and
to the best of their ability and knowledge. I promise to tell my attorneys and the Court the full truth and to cooperate fully with my
attorneys in this legal matter, and that ifl do not, I agree that my attorney may discontinue representing me.

By signing below, I authorize my attorneys and their staff to file all necessary documents and schedules electronically with the Court
and to fax or mail or email copies of pages from my Bankruptcy Petition and Schedules as well as the Notice of Bankruptcy Filing to
my Employer, or any other entities my attorneys deem necessary. I also authorize my attorneys to contact whomever is necessary to
obtain documentation to support my testimony as to my assets , liabilities, and income, including my present or past employer and the
Internal Revenue Service. I further authorize my attorney to use email as a means of communication between myself and/or my
creditors and employer.

I understand that it is my responsibility alone to obtain a Certificate of Completion from a credit counseling agency approved by the
U.S. Trustee and to have it faxed to my attorneys at (312)264·5620 or delivered in person or emailed to my attorney at
lgrecnbcrg@greenberglaw.net and that my attorneys cannot file my case until a certificate is received. I have also been told that I must
complete a second credit management training program after my case is filed in order to obtain a discharge of my debts.

By signing below, I acknowledge that I have been informed of any potential conflict of interest that my attorneys may have
and that I waive any such conflict without further notice. I agree to pay all reasonable and necessary attorneys fees and costs incurred
by Ms. Greenberg in the collection of any amounts due under this contract.

I have read this agreement and fully understand it and herewith acknowledge receipt of a copy. I acknowledge that this agreement is the
only agreement relating to attorneys fees that I have signed.


Debtor                                                             Joint Debtor
                 Case 15-21057                   Doc 1           Filed 06/17/15 Entered 06/17/15 21:20:27       Desc Main
                                                                   Document     Page 8 of 13
B 201A (Form 201A) (6/14)



                                                     UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF ILLINOIS
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types
of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney
General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each
notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that
each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful
and malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


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                 Case 15-21057                   Doc 1           Filed 06/17/15 Entered 06/17/15 21:20:27      Desc Main
                                                                   Document     Page 9 of 13
Form B 201A, Notice to Consumer Debtor(s)                                                                                        Page 2

over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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             Case 15-21057             Doc 1        Filed 06/17/15 Entered 06/17/15 21:20:27                             Desc Main
                                                     Document     Page 10 of 13


B 201B (Form 201B) (12/09)
                                                  United States Bankruptcy Court
                                                         Northern District of Illinois
 In re    Odell Wilson                                                                                 Case No.
                                                                         Debtor(s)                     Chapter       7

                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                           Certification of Debtor
         I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Odell Wilson                                                               X /s/ Odell Wilson                                June 17, 2015
Printed Name(s) of Debtor(s)                                                 Signature of Debtor                             Date

Case No. (if known)                                                        X
                                                                               Signature of Joint Debtor (if any)            Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given
the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
                 Case 15-21057                   Doc 1           Filed 06/17/15 Entered 06/17/15 21:20:27                Desc Main
                                                                  Document     Page 11 of 13




                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Odell Wilson                                                                                  Case No.
                                                                                  Debtor(s)               Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                          Number of Creditors:                                 18




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: June 17, 2015                                                   /s/ Odell Wilson
                                                                       Odell Wilson
                                                                       Signature of Debtor




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    Case 15-21057   Doc 1   Filed 06/17/15 Entered 06/17/15 21:20:27   Desc Main
                             Document     Page 12 of 13

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                      A, T & T
                      PO Box 8100
                      Aurora, IL 60507-8100


                      Administrator of Veterans Affairs
                      P.O. Box 8136
                      Chicago, IL 60680


                      Blatt, Hasenmiller, Leibsker & Moor
                      10 S. LaSalle St
                      Suite 2200
                      Chicago, IL 60603-1069


                      Caf/Carmax Auto Finance
                      Attn: Bankruptcy
                      Po Box 440609
                      Kennesaw, GA 30160


                      Caf/Carmax Auto Finance
                      2040 Thalbro St
                      Richmond, VA 23230


                      Calvary Portfolio Services
                      Attention: Bankruptcy Department
                      500 Summit Lake Dr. Suite 400
                      Valhalla, NY 10595


                      Calvary Portfolio Services
                      Po Box 27288
                      Tempe, AZ 85285


                      Cavalry SPV I, LLC
                      500 Summit Lake Drive, Ste 400
                      Valhalla, NY 10595


                      Dentsply International
                       4001 Fleetwood Drive
                      Franklin Park, IL 60131


                      Equable Ascent FNCL LLC
                      1120 Lake Cook Road
                      Buffalo Grove, IL 60089
Case 15-21057   Doc 1   Filed 06/17/15 Entered 06/17/15 21:20:27   Desc Main
                         Document     Page 13 of 13


                  Henry Schein Inc. dba Zahn Dental
                  c/o Illinois Corporation Service
                  801 ADLAI STEVENSON DRIVE
                  Springfield, IL 62703


                  Jensen Dental
                  50 Stillman Road
                  North Haven, CT 06473


                  Jensen Industries, Inc.
                  2111 Thompson Rd.
                  Fenton, MI 48430


                  Keith Scott Shindler
                  Schindler & Joyce
                  1990 E Algonquin Road
                  Suite 180
                  Schaumburg, IL 60173


                  Mercy Hospital & Medical Center
                  2525 S. Michigan Ave.
                  Attention: Patient Financial SVS
                  Chicago, IL 60616-2477


                  Radiological Physicians, Ltd.
                  P.O. Box 2150
                  Bedford Park, IL 60499-2150


                  Seshan Subramanian MD SC
                  2525 S Michigan Ave
                  Suite 1-422
                  Chicago, IL 60616-2333


                  Veterans Administration
                  536 S. Clark
                  Chicago, IL 60605
